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 6                              UNITED STATES DISTRICT COURT
                               WESTERN DISTRICT OF WASHINGTON
 7                                       AT SEATTLE

 8 UNITED STATES OF AMERICA

 9                                Plaintiff,              Case No. CR10-311-TSZ

10          v.                                            DETENTION ORDER

11 YEREM KORKOTYAN,,

12                                Defendant.

13          Defendant was found guilty of conspiracy to commit bank fraud, bank fraud and making

14 false statements to a federal agent. On April 12, 2012 defendant appeared before the Court after

15 being arrested for alleged violations of conditions of release.

16          The Court, conducted a detention hearing pursuant to Title 18 U.S.C. § 3142(f), and

17 based upon findings and reasons below finds that no condition or combination of conditions

18 which the defendant can meet will reasonably assure the appearance of the defendant as required

19 and the safety of any other person and the community.

20               FINDINGS OF FACT AND STATEMENT OF REASONS FOR DETENTION

21          The U.S. Probation and Pretrial Office alleged defendant violated conditions of release by

22 (1) committing the crime of assault on February 29, 2012; (2) leaving his residence on that date

23 without permission; and (3) using marijuana on February 28, 2012. Defendant admitted using



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 1 marijuana in violation of his bond and stipulated that he should be detained pending sentencing

 2 in this case. The government withdrew the allegation that defendant left his residence without

 3 permission. As defendant admitted to violating a release condition and stipulated to detention,

 4 the Court did not address the allegation that defendant committed assault. Defendant was

 5 advised that the Court’s decision not to address the assault allegation was not a finding in his

 6 favor and that it was an issue that might be raised by the government at the time of sentencing.

 7          It is therefore ORDERED:

 8          (1)    Defendant shall be detained pending trial and committed to the custody of the

 9 Attorney General for confinement in a correctional facility separate, to the extent practicable,

10 from persons awaiting or serving sentences, or being held in custody pending appeal;

11          (2)    Defendant shall be afforded reasonable opportunity for private consultation with

12 counsel;

13          (3)    On order of a court of the United States or on request of an attorney for the

14 Government, the person in charge of the correctional facility in which Defendant is confined

15 shall deliver the defendant to a United States Marshal for the purpose of an appearance in

16 connection with a court proceeding; and

17          (4)    The Clerk shall direct copies of this order to counsel for the United States, to

18 counsel for the defendant, to the United States Marshal, and to the United States Pretrial Services

19 Officer.

20       DATED this 12th day of April, 2012.

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                                                          A
                                                          BRIAN A. TSUCHIDA
                                                          United States Magistrate Judge


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